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                                                                    Unlte^I SjlptSS ft ^ku^ Mosaics
                                                                    ^" 'sc'^
                                                                   "-o.-;-l?—.": '^'^ <>



                  IN THE UNITED STATES DISTRICT CO^RT , , ^
                    FOR THE DISTRICT OF PUERTO RICO : : -
                                                                '">       -—...        ;>*"
                                                                           .. •"•,-- i-'.'~'l"Y '-


  UNITED STATES OF AMERICA,
                                                                 '-' ; JO :''!'~:'1>""L:..^.',^"'''J~/

                                                                   '' -,
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                                                                         SA;! JuAi~<, ^" ~^'
                                                                              jum-",^-^

                                                  CRIMINAL NO. H-^S~ ^$^
                        V.



  AKUA MOSAICS, INC.,
  Defendant.




                    PLEA AND FORFEITURE AGREEMENT

TO THE HONORABLE COURT:

      The United States of America, Defendant Akua Mosaics, Inc., and

Defendant's counsel, Robert Becerra, Esq., pursuant to Federal Rule of Criminal


Procedure II, state that they have reac^e^Plea^Agreement pursuant to Fed. R.

Crim. P. ll(c)(l)CB), the terms and^!bonditions;bf<which are as follows:

   1. Charges to which Defendant will Plead Gmlty

      Defendant agrees to plead guilty to Count One of the Information, which in

sum and substance alleges that between 2021 through in or about June 2022, in the

District of Puerto Rico and elsewhere, the Defendants Kenneth Fleming and Akua

Mosaics, Inc. agreed with Co-conspirator 1 and others, to de&aud the United States

by smuggling and clandestinely introducing, and attempting to smuggle and

dandestinely introduce, porcelain mosaic tiles manufactured in the People's Republic

of China (PRC) by falsely representing to the U.S. Customs and Border Protection that

said merchandise was ofMalaysian origin with the intent to deprive the United States




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ofanti-dumping, countervailing, and other duties lawfully accruing upon said tiles, in

violation of 18 U.S.C. § 545.

   2. Maximum Penalties

      The maximum statutory penalty for the offense charged in Count One is a

fine not to exceed $500,000 pursuant to 18 U.S.C. § 3571(c)(3); a term of

probation of up to five years pursuant to 18 U.S.C. § 3561; and special monetary

assessment of $400 pursuant to 18 U.S.C. § 3013(a)(2)(B)

   3. Sentencing Guidelines Applicability

      Defendant understands that the sentence will be imposed by the Court in

accordance with 18 U.S.C. § § 3551-86, and the United States Sentencing Guidelines

(hereinafter "Guidelines"), which ^e'adwsory, pursuant to the United States
                                   I 9 I""" ^ ~
Supreme Court decision in United Sta^s vl&Boofser, 543 U.S. 220 (2005). Further,

Defendant acknowledges that parole has been abolished, and that the imposition of

Defendant's sentence may not be suspended.


   4. Special Monetary Assessment


      Defendant agrees to pay a special monetary assessment (SMA) of one hundred

dollars ($100.00) per count of conviction. The SMA will be deposited in the Crime

Victim Fund, pursuant to 18 U.S.C. § 3013 (a)(2)(A).




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   5. Fines and Restitution
       The Court may, pursuant to Section 8C3.1 of the Guidelines order Defendant

to pay a fine. The Court may also impose restitution. For purposes of this plea

agreement, the parties agree that the full restitution amount is $1,090,000, and

Defendant agrees to pay this amount on a joint and several basis with Kenneth

Fleming and Shuyi-Mo (a/k/a "Justin Mok"), a convicted defendant in Northern

District of California Criminal No. 23-171. The parties agree that payments made

toward restitution will count towards any forfeiture. The United States does not

intend to collect forfeiture in addition to, or separately from, restitution.

       Furthermore, Defendant agrees to execute and make available, prior to

sentencing, a standardized fuiandal statement (OBD Form 500). The United States

will advocate on behalf of any identified victim, and comply with its obligations

under the Mandatory Victim Restitudon Act of 1996.

   6. Sentence to be Detenmnedltyy^tii^Qu^

       Defendant understands that the sentence to'be imposed will be determined
solely by the United States District Judge. The United States cannot make and has

not made any promise or representation as to what sentence Defendant will receive.

Any discussions that the pardes might have had about possible sentences are not

binding in any way on the Court, and do not constitute representations about what

the parties wUl seek, or what the actual sentence wiU be.
   7. Recommended Sentencing Guidelines Calculations
      After due consideration of the relevant factors enumerated in 18 U.S.C. §

3553(a), the United States and Defendant submit that the advisory Guidelines

calculations listed below apply to Defendant. However, Defendant acknowledges

that the Court is not required to accept those recommended Guidelines calculations.

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                                   Sentencing Guidelines Calculations Table
                                                  Count One
                                            18U.S.C.§§371,545
Base OfFense Lwel                       U.S.S.G.§§2T3.1,2T4.1                     20
Acceptance                              Acceptance of Responsibility, U.S.S.G.    -3

                                        §3E1.1
Total OfFense Level                                                              Tzr

  Sentencing Fine Range for TOL 17 is $450,000 pursuant to U.S.S.G. § 8C2.4



             8. Sentence Recommendation


                As to Count One, and after due consideration of the relevant factors


         enumerated in 18 U.S.C. § 3553(a), the parties agree that at sentencing, the United


         States may recommend that no fine be imposed, but will request that the Court

         impose restitution in accordance with ^hat.is staSed in Paragraph 5 of this Plea


         Agreement.


                The parties agree that any recommendation by either party for a

         sentence different from that stipulated above will constitute a material breach

         of the Plea Agreement.

             9. No Stipulation as to Crunmal History Category

                The parties do not stipulate as to any Criminal History Category for

         Defendant.




         1 The parties recognize that Defendant may be entitled to a further two-level
         downward adjustment pursuant to U.S.S-G. § 4C1.1 - If such an adjustment is
         granted, the fine range would be $200,000 pursuant to U.S.S.G. § 8C2.4(d).

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   10. Waiver of Appeal

       Defendant knowingly and voluntarily agrees that, if the Court imposes no

fme, it waives the right to appeal any aspect of this case's judgment and sentence,

including, but not limited to any term of probation, restitution, fines, and

forfeiture.

   11. No Further Adjustments or Departures

       The United States and Defendant agree that no further adjustments or

departures to Defendant's total adjusted base offense level and no variant sentence

under 18 U.S.C. § 3553—other than any explicidy provided for in this Plea

Agreement—shall be sought by Defendant. The parties agree that any request by

Defendant for an adjustment or de^art^ii%at is j;ot explicitly provided for in this
                                       ^   ^   •   ;   'y^


Plea Agreement will be considered-^l€a? al®'reach of this Plea Agreement, and the

United States will be free to ask for any sentence, either guideline or statutory.

   12. Satisfaction with Counsel

       Defendant is satisfied with counsel, Robert Becerra, Esq. and Osvaldo

Carlo, Esq. and asserts that counsel has rendered effective legal assistance.


   13. Rights Suirendered by Defendant Through Guilty Plea

       Defendant understands that by entering into this Plea Agreement, Defendant

surrenders and waives certain rights as detailed in this agreement. Defendant

understands that the rights of criminal defendants include the following:

              a. If Defendant had persisted in a plea of not guilty to the charges,
                  Defendant would have had the right to a speedy jury trial with the


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             assistance of counsel. The trial may be conducted by a judge sitting
             without a jury if Defendant, the United States and the judge agree.

          b. If a jury trial is conducted-, the jury would be composed of twelve lay
             persons selected at random. Defendant and Defendant's attorney would
             assist in selecting the jurors by removing prospective jurors for cause
             where actual bias or other disqualification is shown, or by removing
             prospective jurors without cause by exercising peremptory challenges.
             The jury would have to agree, unanimously, before it could return a
             verdict of either guilty or not guilty. The Jury would be instructed that
             Defendant is presumed innocent, that it could not convict Defendant
             unless, after hearing all the evidence, it was persuaded of Defendant's
             guilt beyond a reasonable doubt, and that it was to consider each charge
             separately.


          c. If a trial is held by the judge without a jury, die judge would find the
             facts and, after hearing aU the evidence and considering each count
             separately, determine whether or not die evidence established
             Defendant's gult beyond a reasonable doubt.

          d. At a tnal, the United'§tat^s ycxyl^ be required to present its witnesses
              and other evidence ag|mstI|>eferiSiuat. Defendant would be able to
             confront those -witnesSes-and -Defendant's attorney would "be able to
             cross-examine them. In turn, Defendant could present witnesses and
             other evidence on Defendant's own behalf. If die witnesses for
             Defendant would not appear voluntarily, Defendant could require their
             attendance through the subpoena power offhe Court.

          e. At a trial, Defendant could rely on the privilege against self-
              incrimmation to decline to testify, and. no inference of guilt could be
              drawn from Defendant's refusal to testify. If Defendant desired to do so,
              Defendant could testify on Defendant's own behalf.

   14. Stipulation of Facts

      The accompanying Stipulation of Facts signed, by Defendant is hereby

incorporated into this Plea Agreement. Defendant adopts the Stipulation of Facts

and agrees that the facts therein are accurate in every respect. Defendant agrees and

accepts that had the matter proceeded to trial, the United States would have proven


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those facts beyond a reasonable doubt.

    15. Limitations of Plea Agreement

          This Plea Agreement binds only the United States Attorney's Office for the

District of Puerto Rico and Defendant. It does not bind any other federal district,

state, or local authorities.


    16. Entirety of Plea Agreement

          This written agreement constitutes the complete Plea Agreement between the

United States, Defendant, and Defendant's counsel. The United States has made no

promises or representations except as set forth in writing in this Plea Agreement and

denies the existence of any other terms and conditions not stated herein.


    17. Axsujiibcaex^toyie&Agre^aaStt^^^%

          No other promises, terms or 'condifions wilt-be entered into between fhe


parties unless they are in writing and signed by all parties.

   18. Vohmtarmess of Plea Agreement

          Defendant acknowledges that no threats have been made against Defendant

and that Defendant is pleading guilty freely and voluntarily because Defendant is

guilty.

   19. Breach and Waiver

          Defendant agrees that defendant will have breached this Plea Agreement if,

after entering mto this Plea Agreement, Defendant (a) fails to perform or to fulfill

completely each and every one of Defendant's obligations under this Plea



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Agreement; (b) engages m any criminal activity prior to sentencmg; or (c) attempts to

withdraw Defendant's guUty plea. In the event of such a breach, the United Stares

will be free from its obligation under this Plea Agreement and Defendant will not

have the right to withdraw the guilty plea. Moreover, Defendant agrees that if

Defendant is in breach of the Plea Agreement, Defendant is deemed to have waived

any objection to the reinstatement of any charges under the Information which may

have previously been dismissed or which may have not been previously prosecuted.




  20. Felony Conviction

      Defendant hereby agrees and recognizes that the plea ofguUty m this case will

be recognized as a felony conviction, which will result in the loss of certain rights,
                                     sS S :; \ ^'€
including but not limited to the rigfit td'VQte iifa federal election, to serve as a juror,

to hold public office, and to lawfully possess a firearm.




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W. STEPHEN MULDROW

United States Attorney




SethErbe    ^
Assistant United States Attorney
                                                   Robert Becerra
                                                   Counsel for Defendant
Chief, Financial Fraud and                         Dated: Februrar^ 14,2024
Corruption Section
Dated: _^AZ^2-




       ^.er L. Alum                       ^<
                                          k:'
                                                   Aki\ja. Mosaics, Inc. | [
 issistant United States Attorney       i |r'      Defendant ^ n ' A .
Dated: /D - & - iU                                 Executed by. V^e^r ^^W<^ €^ !r/^-^
                                                   Dated: _2llZ^^S~ ^K&.) <-.


                                                       ^
                                                     Osvaldo Carlo Linares
                                                    Counsel for l,)efe,ndant
                                                     Dated: CS/HfZ^t^




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                            UNDERSTANDING OF RIGHTS
        I have consulted with counsel and fully understand all of my rights as to the

 charges pending against me. Further, I have consulted with my attorney and fully

 understand my rights as to the provisions of the Guidelines that may apply in my

 case. I have read this Plea Agreement and carefully reviewed every part of it with my

 attorney in the English language, in which I am completely fluent. I have no doubts

  as to the contents of the agreement. I fully understand this agreement and voluntarily


  agree to it.


  Date: February 14,2024
                                                 Akua| Mosaics, Inc.
                                                 Defendant • I /»_ ',
                                                 ExecAed bvr^^^ertk •3? te^- "^ fc» ^f P-^ - ^^
                                                                                or ^^K(^rt'wi<-
         I am the attorney for Defendant. I have fiiHy explained Defendant's rights to

  Defendant with respect to the pending charges. Further, I have reviewed the


  applicable provisions of the Guidelines and I have fully explained to Defendant the

  provisions of those Guidelines that may apply in this case. I have carefully reviewed

  every part of this Plea Agreement with Defendant. I explained it in the English

  language Defendant, a language in which he is completely fluent. Defendant has

  expressed having no doubts as to the contents of the agreement. To my knowledge,


  Defendant is entering into this Plea Agreement voluntarily, intelligenfly, and witt

  full knowledge of all consequences of Defendant's plea[ of guilty.

         Date: February 14, 2024
                                                   Robert Btfcenra                     Osvaldo Carlo Linares
                                                   Counsel for Defendant               Counsel for Defendant
                                                                                       Dated: Ot]&^^
  USAO-DPR-Plea Agrcemcnl                                                                  ftisc] 10




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                             STIPULATION OF FACTS
      In conjunction with the submission of the accompanying Plea Agreement in

this case. Defendant admits that she is guilty as charged m Count One of the

Infonnation and admits die following:

      Relevant Persons and Entities

      U Fair Tile and Mosaic Co., Ltd. ("U Fair") was a company based in

Guangdong, People's Republic of China ("PRC") that, among other things, clamed

to design porcelain mosaic tiles.

      Neviews Development Co. Ltd. ("Neviews") was a company based in Hong


Kong that was aflBliated with U Fair. Among other fhings, Neviews exported FRC-

manufactured mosaic tiles to various countries, indudmg the United States.

      Morro Marketing Enterprise ("Moiro") was a purported Malaysia-based,


supplier of mosaic tiles.

      Co-Conspirator 1 was a PRC citizen residing in Guangdong, PRC. He sdf-

identified on social media as the "general sales manager" of U Fair and as the

"exporting manager" of Neviews. Co-Conspirator 1 also served as the point of


contact for Morro.


      Akua Mosaics, Inc. was an entity incorporated under the laws of Puerto Rico


that, among other things, imported porcelain tiles to Puerto Rico from Neviews and

Morro. Defendant Kenneth Fleming was the president, secretary, treasurer, and


agent ofAkua Mosaics, Inc.




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      Duties Imposed on Certain Goods Manufactured in PRC

      A countervaitmg duty is a tax imposed on imported goods that is designed to

offset subsidies made to producers of these goods in tfae countiy of export. As of in

or about 2021 and continuing through the date of tfae return of this Infonnation.

porcelain mosaic tiles manufactured in PRC and imported into the United States were

subject to a countervafling duty of 358.81% of the value of the imported merchandise.

      An anti-dumpiag duty is a tax imposed on imported goods ftiat are priced below

their fair market value. As of in or about 2021 and continuing through the date of the

return of this Information, porcelain mosaic tiles manufactured in PRC were subject

to anti-dumping duties of 330.69% of the value of the imported merchandise.

      Pursuant to Section 301 of the Trade Act of 1974, 19 U.S.C. §§ 2411-2420, and

Presidential Proclamation 9693 issued on January 23, 2018, porcelain mosaic tiles

manufactured in PRC were subject to dudes of 25% of die value of the imported

merchandise.


      Beginning on a date unknown but not later than m or about 2021, and

continuing through in or about June 2022, Kenneth Fleming, Co-conspirator 1 and

Akua Mosaics, Inc., aiding and abetting each other, devised and intended to devise a

scheme to defraud die United States of duties lawfully owed to it, and to obtain money

and property by means of materially false and fraudulent pretenses, representations,

and promises.


      Begitming on a date unknown but not later than ia or about 2021 and contmuing

through m or about June 2022, in the District of Puerto Rico and elsewhere within the

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jurisdiction of this Court, the defendant, Kenneth Fleming did knowingly and willfully

conspire and agree with Akua Mosaics, Inc., Co-conspirator 1, and others to defraud


the United States by smuggling and clandestinely introducing, and attempting to

smuggle and clandestinely introduce, porcelain mosaic tiles manufactured in PRC, by

falsely representing to the U.S. Customs and Border Protection that said. merchandise

was ofMalaysian origin with the intent to deprive the United States ofanti-dumping,

countervailing, and otfaer duties lawfully accruing upon said tiles, contrary to 18

U.S.C. § 545


       Object oftfae Conspiracy

       The object of the conspiracy was for Kenneth. Fleming, Akua Mosaics, Inc.


and Co-conspirator 1 to help each other and others evade payment to the United

States of duties lawfully owed on porcelain mosaic tiles manufactured in PRC.

       Overt Acts

       One or more overt acts were committed in furtherance of the conspiracy,


including, but not limited to, tfae followmg:

        a. On a particular date unknown, but between in or about October 2021 and

            in or about January 2022, Co-conspirator 1, Alcua Mosaics, Inc. and


            Kenneth Fleming aiding and abetting each other and others, caused a

            contaiaer with porcelaia tiles manufactured in PRC to be shipped from

            PRC to Malaysia.




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    b. On a particular date unlmown, but between in or about October 2021 and

       in or about January 2022, Kenneth Fleming, Akua Mosaics, Inc. and Co-

       conspirator 1, aiding and abetting others, caused "Made in Malaysia"

       labels to be placed on boxes contaiaing porcelaia tiles manufactured in

       PRC.

    c. On a particular date unknown, but between in or about October 2021 and

       in or about January 2022, Kenneth Fleming, Akua Mosaics, Inc. and Co-

       conspirator 1, aiding and abetting each ottier and others, caused "Made in


       Malaysia" labels to be placed on boxes containing porcelain tiles

       manufactured in PRC.


    d. On or about January 22, 2022, Kenneth Fleming aiding and abetting Co-

       conspirator 1 and others, caused a container with porcelain tiles

       manufactured in PRC to be shipped from Malaysia to Puerto Rico.

    e. In or about March 2022, Kenneth Fleming, aiding and abetting Co-

       conspirator 1 and others, caused the country of origin ofporcelain mosaic

       tiles that arrived in Puerto Rico to be misrepresented as Malaysia, when

       the country of origin was, in fact, PRC.




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       As a result of the criminal conduct described herein, the United States

was unlawfully deprived of $1,090,000 m duties and tariffs.

        AU in violation of 18 U.S.C. §§ 371 and 545.




         iM
AlexandeF?<lJ.l:Xlum                                   Robert Becerra
Assistant tTnited States Attorney                      Counsel Jor Defen.djanJL
Dated:         fO'fc -t^                               Dated7Tebfua?yT^


                                                         ^,


                                                       Ak^ia Mosaics, Inc.
                                                       De^ndant ^^ . , _ ^,
                                                       Executed by: ^W^ ^ (.<£*^>,Mfc J j F^' ^
                                                       Dated: , <^3- ^--^^ ^ ftfcj%^ «




                                                        Osvatdo Carlo Linares
                                                        Counsel for Defendant
                                                        Dated: 03//3/2£>^




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